
ORDER
I,The Office of Disciplinary Counsel (“ODC”) is conducting an investigation into allegations that respondent converted client funds to his own use. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent’s petition.
Having considered the Petition for Permanent Resignation from the Practice of Law filed by Paul Eugene Gardner, Louisiana Bar Roll number 14279, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Paul Eugene Gardner for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5 of the Rules of Professional Conduct.
IT IS FURTHER ORDERED that Paul Eugene Gardner shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
*1241FOR THE COURT:
/s/ John L. Weimer Justice, Supreme Court of Louisiana
